        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 1 of 75




GENERAL INSTRUCTION 1. FUNCTIONS OF THE COURT
AND THE JURY


    Members of the jury, you have seen and heard all the

evidence and arguments of the attorneys. Now I will

instruct you on the law.

    You have two duties as a jury. Your first duty is to

decide the facts from the evidence in the case. This is your

job, and yours alone.

    Your second duty is to apply the law that I give you to

the facts. You must follow these instructions, even if you

disagree with them. Each of the instructions is important,

and you must follow all of them.

     Perform these duties fairly and impartially. Do not

allow sympathy, prejudice, fear, or public opinion to

influence you. You should not be influenced by any

person's race, color, religion, national origin, or sex.



                           Page 1 of 64
          3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 2 of 75




     Nothing I say now, and nothing I said or did during the

trial, is meant to indicate any opinion on my part about

what the facts are or about what your verdict should be.




  Source: Seventh Circuit Pattern Instruction 1.01 Agreed
. Instruction No. 7
 Given:
 Refused:
 Withdrawn:

                            Page 2 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 3 of 75




GENERAL INSTRUCTION 2. NO INFERENCE FROM
JUDGE'S QUESTIONS

    During this trial, I have asked a witness a question

myself. Do not assume that because I asked questions I

hold any opinion on the matters I asked about, or on what

the outcome of the case should be.




Court Proposed

Source: Seventh Circuit Pattern Civil Jury Instructions
1.02

Given:

Refused:

Withdrawn:

                            Page 3 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 4 of 75




GENERAL INSTRUCTION 3. EQUALITY BEFORE THE
LAW

    In this case one of the defendants is a business

organization. All parties are equal before the law. A

business organization is entitled to the same fair

consideration that you would give any individual person.




Source: Seventh Circuit Pattern Instruction 1.03 (modified
to delete reference to "corporation") Agreed Instruction No.
8
Given:
Refused:
Withdrawn:


                           Page 4 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 5 of 75




GENERAL INSTRUCTION 4. WHAT IS EVIDENCE


    The evidence consists of the testimony of the

witnesses, the exhibits admitted in evidence, and

stipulations. A stipulation is an agreement between both

sides that certain facts are true and that a person would

have given certain testimony. I have taken judicial notice of

certain facts. You must accept those facts as proved.




Source: Seventh Circuit Pattern Instruction 1.04 Agreed
Instruction No. 9
Given:
Refused:
Withdrawn:


                            Page 5 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 6 of 75




GENERAL INSTRUCTION 5. DEPOSITION TESTIMONY


    During the trial, certain testimony was presented to

you by the reading of a deposition. You should give this

testimony the same consideration you would give it had the

witness[es] appeared and testified here in court.




Source: Seventh Circuit Pattern Instruction 1.05 Agreed
Instruction No. 10
Given:
Refused:
Withdrawn:

                           Page 6 of 64
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 7 of 75




GENERAL INSTRUCTION 6. WHAT IS NOT EVIDENCE


     Certain things are not to be considered as evidence. I

will list them for you:

     First, if I told you to disregard any testimony or

exhibits or struck any testimony or exhibits from the

record, such testimony or exhibits are not evidence and

must not be considered.

     Second, anything that you may have seen or heard

outside the courtroom is not evidence and must be entirely

disregarded. This includes any press, radio, Internet or

television reports you may have seen or heard. Such

reports are not evidence and your verdict must not be

influenced in any way by such publicity.

    Third, questions and objections or comments by the

lawyers are not evidence. Lawyers have a duty to object

when they believe a question is improper. You should not



                          Page 7 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 8 of 75




be influenced by any objection, and you should not infer

from my rulings that I have any view as to how you should

decide the case.

    Fourth, the lawyers' opening statements and closing

arguments to you are not evidence. Their purpose is to

discuss the issues and the evidence. If the evidence as you

remember it differs from what the lawyers said, your

memory is what counts.




Source: Seventh Circuit Pattern Instruction 1.06
Agreed Instruction No. 11
Given:
Refused:
Withdrawn:

                           Page 8 of 64
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 9 of 75




GENERAL INSTRUCTION 7. NOTE-TAKING


    If you want to take notes during the trial, you may do

so . However, it is difficult to take detailed notes and pay

attention to what the witnesses are saying at the same

time. If you take notes, be sure that your note-taking does

not interfere with your listening to and consideration of all

the evidence. Also, if you do take notes, do not discuss

them with anyone before you begin your deliberations. Do

not take your notes with you at the end of the day-be sure

to leave them in this courtroom.

    If you choose not to take notes, remember that it is

your responsibility to listen carefully to the evidence. You

cannot give this responsibility to someone who is taking

notes. We depend on the judgment of all members of the

jury; you all must remember the evidence in this case.

Pay close attention to the testimony as it is given. At the

end of the trial, you must decide based on what you recall

                          Page 9 of 64
           3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 10 of 75




of the evidence. You will not have a written transcript to

consult.




Court Modified Instruction
Given:
Refused:
Withdrawn:

                             Page 10 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 11 of 75




GENERAL INSTRUCTION 8. CONSIDERATION OF ALL
EVIDENCE


    In determining whether any fact has been proved, you

should consider all of the evidence bearing on the question

regardless of who introduced it.




Source: Seventh Circuit Pattern Instruction 1.08 Agreed
Instruction No. 13
Given:
Refused:
Withdrawn:


                           Page 11 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 12 of 75




GENERAL INSTRUCTION 9 . LIMITED PURPOSE OF
EVIDENCE

    You will recall that during the course of this trial I

instructed you that I admitted certain evidence for a limited

purpose. You must consider this evidence only for the

limited purpose for which it was admitted.




Court Proposed

Source: Seventh Circuit Pattern Civil Jury Instructions
1.09

Given:
Refused:
Withdrawn:


                           Page 12 of 6 4
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 13 of 75




GENERAL INSTRUCTION 10. EVIDENCE LIMITED TO
CERTAIN PARTIES

    Each party is entitled to have the case decided solely on

the evidence that applies to that party. You must consider

the evidence concerning violations of the Fair Labor

Standards Act only in the case against Defendant Zhang and

Li, in their individual capacity, and violations of the Illinois

Wage Payment and Collection Act only in the case against

Defendants Shi, Zhang, and Li, in their individual capacity.

You must not consider it against any other party.




Source: Seventh Circuit Pattern Civil Jury Instructions
1.10

                          Page 13 of 64
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 14 of 75




GENERAL INSTRUCTION l0A. EVIDENCE LIMITED TO
CERTAIN PARTIES

    Each party is entitled to have the case decided solely on

the evidence that applies to that party. You must consider

the evidence concerning violations of the Fair Labor

Standards Act only in the case against Defendant Zhang and

Li, in their individual capacity, and violations of the Illinois

Wage Payment and Collection Act only in the case against

Defendants Zhang and Li, in their individual capacity. You

must not consider it against any other party.
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 15 of 75




GENERAL INSTRUCTION 11. WEIGHING THE EVIDENCE


    You should use common sense in weighing the

evidence and consider the evidence in light of your own

observations in life.

    In our lives, we often look at one fact and conclude

from it that another fact exists. In law we call this

"inference." A jury is allowed to make reasonable

inferences. Any inference you make must be reasonable

and must be based on the evidence in the case.




Source: Seventh Circuit Pattern Instruction 1. 11 Agreed
Instruction No. 14
Given:
Refused:
Withdrawn:


                          Page 14 of 64
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 16 of 75




GENERAL INSTRUCTION 12. "DIRECT" AND
"CIRCUMSTANTIAL" EVIDENCE


     You may have heard the phrases "direct evidence" and

"circumstantial evidence." Direct evidence is proof that

does not require an inference, such as the testimony of

someone who claims to have personal knowledge of a fact.

Circumstantial evidence is proof of a fact, or a series of

facts, that tends to show that some other fact is true.

    As an example, direct evidence that it is raining is

testimony from a witness who says, "I was outside a

minute ago and I saw it raining." Circumstantial evidence

that it is raining is the observation of someone entering a

room carrying a wet umbrella.

    The law makes no distinction between the weight to be

given to either direct or circumstantial evidence. You

should decide how much weight to give to any evidence. In




                          Page 15 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 17 of 75




reaching your verdict, you should consider all the evidence

in the case, including the circumstantial evidence.




Source: Seventh Circuit Pattern Instruction 1. 12
Agreed Instruction No. 15
Given:
Refused:
Withdrawn:

                           Page 16 of 64
          3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 18 of 75




GENERAL INSTRUCTION 13. TESTIMONY OF
WITNESSES (DECIDING WHAT TO BELIEVE)


    You must decide whether the testimony of each of the

witnesses is truthful and accurate, in part, in whole, or not

at all. You also must decide what weight, if any, you give to

the testimony of each witness.

    In evaluating the testimony of any witness, including

any party to the case, you may consider, among other

things:

•   the ability and opportunity the witness had to see,

hear, or know the things that the witness testified about;

•   the witness's memory;

•   any interest, bias, or prejudice the witness may have;

•   the witness's intelligence;

•   the manner of the witness while testifying;

•   the witness's age;


                            Page 17 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 19 of 75




•    and the reasonableness of the witness's testimony in

light of all the evidence in the case.




Source: Seventh Circuit Pattern Instruction 1.13
Agreed Instruction No. 16
Given:
Refused:
Withdrawn:

                           Page 18 of 6 4
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 20 of 75




GENERAL INSTRUCTION 14. PRIOR INCONSISTENT
STATEMENTS OR ACTS


     You may consider statements given by a Party or a

Witness under oath before trial as evidence of the truth of

what he said in the earlier statements, as well as in

deciding what weight to give his testimony.

    With respect to witnesses who are not parties and who

were not placed under oath before trial, the law is different.

If you decide that, before the trial, one of these witnesses

made a statement not under oath or acted in a manner

that is inconsistent with his testimony here in court, you

may consider the earlier statement or conduct only in

deciding whether his testimony here in court was true and

what weight to give to his testimony here in court. In

considering a prior inconsistent statement or conduct, you

should consider whether it was simply an innocent error or




                          Page 19 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 21 of 75




an intentional falsehood and whether it concerns an

important fact or an unimportant detail.




Source: Seventh Circuit Pattern Instruction 1.14
Agreed Instruction No. 17
Given:
Refused:
Withdrawn:

                           Page 20 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 22 of 75




GENERAL INSTRUCTION 15. IMPEACHEMENT OF
WITNESS-CONVICTIONS

    You have heard evidence that Han Lin has been

convicted of crimes. You may consider this evidence only in

deciding whether Han Lin's testimony is truthful in whole,

in part, or not at all. You may not consider this evidence for

any other purpose.




Court Proposed

Source: Seventh Circuit Pattern Civil Jury Instructions
1.15

Given:
Refused:
Withdrawn:


                           Page 21 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 23 of 75




GENERAL INSTRUCTION 16. LAWYER INTERVIEWING
WITNESS

    It is proper for a lawyer to meet with any witness in

preparation for trial.




Court Proposed

Source: Seventh Circuit Pattern Civil Jury Instructions
1.16

Given:
Refused:
Withdrawn:

                           Page 22 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 24 of 75




GENERAL INSTRUCTION 17. NUMBER OF WITNESSES


    You may find the testimony of one witness or a few

witnesses more persuasive than the testimony of a larger

number. You need not accept the testimony of the larger

number of witnesses.




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                                                                         obJe0hoYI




Source: Seventh Circuit Pattern Instruction 1.17 Agreed
Instruction No. 18
Given:
Refused:
Withdrawn:

                           Page 23 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 25 of 75




GENERAL INSTRUCTION 18. ABSENCE OF EVIDENCE

     The law does not require any party to call as a witness

every person who might have knowledge of the facts related

to this trial. Similarly, the law does not require any party to

present as exhibits all papers and things mentioned during

this trial.




Source: Seventh Circuit Pattern Instruction 1.18 Agreed
Instruction No. 19
Given:
Refused:
Withdrawn:


                           Page 24 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 26 of 75




GENERAL INSTRUCTION 19: TRANSLATED LANGUAGE

    You should consider only the evidence provided

through the official interpreter. Although some of you may

know~     andarin Chines¥ , it is important that all jurors

consider the same evidence. Therefore, you must base your

decision on the evidence presented in the English

translation.




Court Proposed

Source: Seventh Circuit Pattern Civil Jury Instructions
1.22

Given:
Refused:
Withdrawn:


                           Page 25 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 27 of 75




GENERAL INSTRUCTION 20. SUMMARIES


Stipulated

The parties agree that [describe summary in evidence]

accurately summarizes the contents of documents, records,

or books. You should consider these summaries just like

all of the other evidence in the case.

Not Stipulated

Certain [describe summary in evidence] is/ are in evidence.

The original materials used to prepare those summaries are

also in evidence. It is up to you to decide if the summaries

are accurate.




Source: Seventh Circuit Pattern Instruction 1.23 Agreed
Instruction No. 20
Given:
Refused:
Withdrawn:

                           Page 26 of 64
       3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 28 of 75




GENERAL INSTRUCTION 19. SUMMARIES


Stipulated

The parties agree that [describe summary in evidence]

accurately summarizes the contents of documents, records,

or books. You should consider these summaries just like

all of the other evidence in the case.
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 29 of 75




GENERAL INSTRUCTION 19A. STIPULATIONS OF FACT

The parties have stipulated, or agreed, that

  • While Plaintiff worked as a server, Plaintiffs duties

      included serving dishes and drinks, bussing tables,

      and in the mornings cutting fruit and filling soy sauce

      containers.

  •   Plaintiff worked for China Wok restaurant from on or

      about July 1, 2019 through on or about January 9,

      2020 as a stir-fry chef ("fry pot").

You must now treat this fact as having been proved for the

purpose of this case.
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 30 of 75




GENERAL INSTRUCTION 19B. STIPULATIONS OF FACT

The parties have stipulated, or agreed, that

  • 1. Throughout the period relevant to this lawsuit

      China Wok's Wok restaurant's place of business was

      1119 Vandalia Road, Hillsboro, IL 62049.

  • 2 . Plaintiff worked for China Wok restaurant from on

      or about October 20, 2018 through on or about June

      30, 2019 as a server.

  • 3. While Plaintiff worked as a server, Plaintiffs duties

      included serving dishes and drinks, bussing tables,

      and in the mornings cutting fruit and filling soy sauce

      containers.

  •   4 . Plaintiff worked for China Wok restaurant from on

      or about July 1, 2019 through on or about January 9,

      2020 as a stir-fry chef ("fry pot").

  • 5 . While Plaintiff worked on the "fry pot," Plaintiffs
     3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 31 of 75




• duties included cutting vegetables, cutting and

  skewering meats, filling the buffet, and preparing

  dishes including crab Rangoon, egg rolls, spring rolls,

  and bacon.

• 6. During his time working at China Wok, Plaintiff

  took two (2) or three (3) week-long trips to New York,

  and one (1) to two (2) month(s)-long trip(s) to China.

• 7. China Wok restaurant was owned by Shi Jian Yun

  from about 2007 through about June 2020.

• 8. Throughout the period of Plaintiffs employment,

  China Wok restaurant was operated by Hong Zhang

  and Fang Fang Li.

• 9. Hong Zhang and Fang Fang Li are husband and

  wife.

• 10. Throughout the period of Plaintiffs employment,

  China Wok restaurant employed four or fewer

  employees, including Plaintiff, but not including Hong
     3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 32 of 75




  Zhang, Fang Fang Li, and members of their immediate

  family who worked at China Wok restaurant.

• 11. Throughout the period of Plaintiffs employment,

  Hong Zhang and Fang Fang Li handled all aspects of

  China Wok restaurant's operations, including but not

  limited to food preparation, cooking, service, delivery,

  supervision and management of all China Wok

  restaurant employees including Plaintiff, and

  preparation and maintenance of employee records.

• 12. Throughout the period of Plaintiffs employment,

  Hong Zhang and Fang Fang Li had the authority to

  hire and fire employees of China Wok restaurant,

  including Plaintiff; determined the rate and method of

  payment for employees of China Wok restaurant,

  including Plaintiff; supervised and controlled employee

  work schedules at China Wok restaurant, including
       3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 33 of 75




    Plaintiffs; and kept and maintained employee records

    for China Wok restaurant, including Plain tiffs.

  • 13. China Wok restaurant obtained rice from New

    Jersey; and vegetables, chicken, pork, rice, shrimp,

    scallops, imitation crab, ice cream, oil, and frozen

    nuggets from Missouri.

You must now treat this fact as having been proved for the

purpose of this case.
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 34 of 75




GENERAL INSTRUCTION 21. DEMONSTRATIVE
EXHIBITS


Certain [describe demonstrative exhibit(s), e.g., models,

diagrams, devices, sketches] have been shown to you.

These [short description] are used for convenience and to

help explain the facts of the case. They are not themselves

evidence or proof of any facts.




Source: Seventh Circuit Pattern Instruction 1.24 Agreed
Instruction No. 21
Given:
Refused:
Withdrawn:

                           Page 27 of 64
       3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 35 of 75




GENERAL INSTRUCTION 20A. DEMONSTRATIVE
EXHIBITS

Certain demonstrative exhibit(s) have been shown to you.

These short descriptions are used for convenience and to

help explain the facts of the case. They are not themselves

evidence or proof of any facts .
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 36 of 75




GENERAL INSTRUCTION 22. MULTIPLE CLAIMS;
MULTIPLE DEFENDANTS


    You must give separate consideration to each claim

and each party in this case. Although there are multiple

defendants, it does not follow that if one is liable, any of the

others is also liable.

     In considering a claim against a defendant, you must

not consider evidence admitted only against other

defendants or only as to other claims.




Source: Seventh Circuit Pattern Instruction 1.25
Agreed Instruction No. 22
Given:
Refused:
Withdrawn:


                           Page 28 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 37 of 75




GENERAL INSTRUCTION 23. DISMISSED/WITHDRAWN
DEFENDANT


    [Former Party] is no longer a defendant in this case.

You should not consider any claims against [Former Party].

Do not speculate on the reasons. You should decide this

case as to the remaining parties.




Source: Seventh Circuit Pattern Instruction 1.26 Agreed
Instruction No. 23
Given:
Refused:
Withdrawn:


                           Page 29 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 38 of 75




GENERAL INSTRUCTION 24. BURDEN OF PROOF


    When I say a particular party must prove something

by "a preponderance of the evidence," or when I use the

expression "if you find," or "if you decide," this is what I

mean: When you have considered all the evidence in the

case, you must be persuaded that it is more probably true

than not true.




Source: Seventh Circuit Pattern Instruction 1.27 Agreed
Instruction No. 24
Given:
Refused:
Withdrawn:


                           Page 30 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 39 of 75




GENERAL INSTRUCTION 25. NO NEED TO CONSIDER
DAMAGES INSTRUCTION


    If you decide for the defendant(s) on the question of

liability, then you should not consider the question of

damages.




Source: Seventh Circuit Pattern Instruction 1.31
Agreed Instruction No. 2 5
Given:
Refused:
Withdrawn:


                           Page 31 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 40 of 75




GENERAL INSTRUCTION 26. SELECTION OF
PRESIDING JUROR; GENERAL VERDICT


     Upon retiring to the jury room, you must select a

presiding juror. The presiding juror will preside over your

deliberations and will be your representative here in court.

     Forms of verdict have been prepared for you ..~ orms of

verdict read \

    ~ ake these forms to the jury room, and when you

have reached unanimous agreement on the verdict, your

presiding juror will fill in and date the appropriate form,

and all of you will sign it\




Source: Seventh Circuit Pattern Instruction 1.32
Agreed Instruction No. 26
Given:
Refused:
Withdrawn:

                           Page 32 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 41 of 75




GENERAL INSTRUCTION 27. COMMUNICATION WITH
COURT

       I do not anticipate that you will need to communicate

with me. If you do need to communicate with me, the only

proper way is in writing. The writing must be signed by the

presiding juror, or, if he or she is unwilling to do so, by some

other juror. The writing should be given to the marshal, who

will give it to me. I will respond either in writing or by having

you return to the courtroom so that I can respond orally.

       If you do communicate with me, you should not indicate

in your note what your numerical division is, if any.




Court Proposed
Source: Seventh Circuit Pattern Civil Jury Instructions
1.33

Given:

Refused:

Withdrawn:

                           Page 33 of 64
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 42 of 75




GENERAL INSTRUCTION 28. DISAGREEMENT AMONG
JURORS


    The verdict(s) must represent the considered judgment

of each juror. Your verdict(s), whether for or against the

Plaintiff, must be unanimous. You should make every

reasonable effort to reach a verdict. In doing so, you should

consult with one another, express your own views, and

listen to the opinions of your fellow jurors. Discuss your

differences with an open mind. Do not hesitate to

reexamine your own views and change your opinion if you

come to believe it is wrong. But you should not surrender

your honest beliefs about the weight or effect of evidence

solely because of the opinions of other jurors or for the

purpose of returning a unanimous verdict. All of you

should give fair and equal consideration to all the evidence

and deliberate with the goal of reaching an agreement that




                          Page 34 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 43 of 75




is consistent with the individual judgment of each juror.

You are impartial judges of the facts.




Source: Seventh Circuit Pattern Instruction 1.34
Agreed Instruction No. 27
Given:
Refused:
Withdrawn:

                           Page 35 of 6 4
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 44 of 75




GENERAL INSTRUCTION 29. CAUTIONARY
INSTRUCTION BEFORE RECESS

    We are about to take our first break during the trial,

and I want to remind you of the instruction I gave you

earlier. Until the trial is over, you are not to discuss this

case with anyone, including your fellow jurors, members of

your family, people involved in the trial, or anyone else. If

anyone approaches you and tries to talk to you about the

case, do not tell your fellow jurors but advise me about it

immediately. Do not read or listen to any news reports of

the trial. Finally, remember to keep an open mind until all

the evidence has been received and you have heard the

views of your fellow jurors.

     I may not repeat these things to you before every break

that we take, but keep them in mind throughout the trial.




                         Page 36 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 45 of 75




Source: Seventh Circuit Pattern Instruction 2 .01 Agreed
Instruction No. 2 8
Given:
Refused:
Withdrawn:




                           Page 37 of 64
            3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 46 of 75




GENERAL INSTRUCTION 30. JUDGE'S COMMENTS TO
LAWYER

         I have a duty to caution or warn an attorney who does

something that I believe is not in keeping with the rules of

evidence or procedure. You are not to draw any inference

against the side whom I may caution or warn during the

trial.




Court Proposed
Source: Seventh Circuit Pattern Civil Jury Instructions
2.14

Given:
Refused:
Withdrawn:

                              Page 38 of 64
       3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 47 of 75




SUBSTANTIVE INSTRUCTION 1. STATUTE INVOLVED
(FAIR LABOR STANDARDS ACT)


    The Plaintiff has brought claims under the Fair Labor

Standards Act, also referred to as "the FLSA," against

Defendants Hong Zhang and Fang Fang Li. The FLSA is a

federal law that provides for the payment of minimum wage

for each hour worked and for the payment overtime

compensation for all hours in excess of forty in one week,

among other requirements. The purpose of the FLSA is to

eliminate the existence of labor conditions which are

detrimental to the minimum standard of living necessary

for the health, efficiency, and general well-being of workers.

    An employer must pay an employee overtime

compensation for hours worked in excess of forty in any

workweek. Overtime compensation must be paid at a rate

of at least one and one-half times the employee's regular




                         Page 39 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 48 of 75




rate of pay for each hour worked over forty hours in that

workweek.

    An employer must pay at least minimum wage for all

hours worked by an employee during such a workweek.

    In this case Plaintiff alleges that the Fair Labor

Standards Act has been violated in two separate and

distinct ways. First, Plaintiff alleges that Defendants did

not pay him for all hours worked. Second, Plaintiff alleges

that Defendants did not pay him one and one-half times

his regular rate of pay for his overtime hours.




Source: Faculty of Federal Advocates Ad Hoc Committee
Model Employment Law Jury Instructions (Sep. 2013)
Authority: 29 U.S.C. §§ 202(a), 206, 207
Agreed Instruction No. 29
Given:
Refused:
Withdrawn:

                          Page 40 of 64
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 49 of 75




SUBSTANTIVE INSTRUCTION 2. ELEMENTS OF CLAIM
FOR MINIMUM WAGES


     In order for Plaintiff to establish his claims for the

Defendants' failure to pay him minimum wage in violation

overtime pay in violation of the FLSA, he must prove the

fallowing by a preponderance of the evidence that:

1.   Plaintiff was an employee of the Defendant during the

period{s) of October 20, 2018 to June 30, 2019; and/ or

July 1, 2019 to January 9, 2020; and

2.   In the Plaintiff's work for the Defendant, the Plaintiff

was employed by an enterprise engaged in commerce or the

production of goods for commerce that had annual gross

sales of at least $500,000; and

3.   Defendant failed to pay the Plaintiff minimum wage for

all hours worked by the Plaintiff during one or more

workweeks.




                          Page 41 of 64
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 50 of 75




    The term "commerce" means any trade, commerce,

transportation transmission or communication between

any state and any place outside that state.

    An enterprise is considered to have been "engaged in

the production of goods" if the enterprise produced,

manufactured, mined, handled, transported, or in any

other manner worked on such goods or worked in any

closely related process or occupation directly essential to

the production of the goods. If you find that the Plaintiff

has failed to prove either or both of these propositions by a

preponderance of the evidence, then you must find against

him on his minimum wage claim and in favor of the

Defendant.

    If, on the other hand, you find that the Plaintiff has

proven all three propositions by a preponderance of the

evidence, then you must find in his favor and against the

Defendant.

                          Page 42 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 51 of 75




Source: Faculty of Federal Advocates Ad Hoc Committee
Model Employment Law Jury Instructions (Sep. 2013)
Authority: 29 U.S.C. § 206 (minimum wage); 29 U.S .C. §
203 (definitions)
Agreed Instruction No. 30
Given:
Refused:
Withdrawn:




                           Page 43 of 64
             3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 52 of 75




SUBSTANTIVE INSTRUCTION 3. APPLICABLE MINIMUM
WAGE RATES


The minimum wage rate applicable in this case is:

•         (a)(l) July 24, 2009 to date -- $7.25 per hour. (29

U.S.C. § 206(a)(l));

•         (g) Newly hired employees who are less than 20 years

old:

    (1)     In lieu of the rate prescribed by subsection (a)(l),

            any employer may pay any employee of such

            employer, during the first 90 consecutive calendar

            days after such employee is initially employed by

            such employer, a wage which is not less than$4.25

            an hour. (29 U.S.C. § 206(g)(l));




                              Page 44 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 53 of 75




Source: Faculty of Federal Advocates Ad Hoc Committee
Model Employment Law Jury Instructions (Sep. 2013)
Authority: 29 U.S.C . § 206(a)(l); 29 U.S.C. § 206(g)(l).


Agreed Instruction No . 31
Given:
Refused:
Withdrawn:




                           Page 4 5 of 64
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 54 of 75




SUBSTANTIVE INSTRUCTION 4. FLSA - ELEMENTS OF
CLAIM FOR OVERTIME PAY


     In order for the Plaintiff to establish his claim for the

Defendant's failure to pay him overtime pay in violation of

the FLSA, he must prove the following by a preponderance

of the evidence:

1.   Plaintiff was an employee of the Defendant during the

period(s) of October 20, 2018 to June 30, 2019; and/ or

July 1, 2019 to January 9, 2020; and

2.   In the Plaintiffs work for the Defendant, the Plaintiff

was employed by an enterprise engaged in commerce or the

production of goods for commerce that had annual gross

sales of at least $500,000; and

3.   Defendant failed to pay the Plaintiff overtime pay for

all hours worked, as that term is defined by Instruction No.

 G, for the Defendant in excess of forty in one or more
workweeks.

                          Page 46 of 64
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 55 of 75




    "Commerce" means any trade, commerce,

transportation transmission or communication between

any state and any place outside that state.

    An enterprise is considered to have been "engaged in

the production of goods" if the enterprise produced,

manufactured, mined, handled, transported, or in any

other manner worked on such goods or worked in any

closely related process or occupation directly essential to

the production of the goods.

    "Overtime pay" means an amount of at least one and

one-half times an employee's regular rate of pay, as that

term is defined by Instruction No.         fJ ,for all hours worked
in excess of 40 in a workweek.

    If you find that the Plaintiff has failed to prove one or

more of these propositions by a preponderance of the

evidence, then you must find against him on his claim for

overtime pay and in favor of the Defendant.

                          Page 4 7 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 56 of 75




    If, on the other hand, you find that the Plaintiff has

proven all three propositions by a preponderance of the

evidence, then you must find in his favor and against the

Defendant.




Source: Faculty of Federal Advocates Ad Hoc Committee
Model Employment Law Jury Instructions (Sep. 2013)
Authority: 29 U.S.C. § 207 (overtime wages); 29 U .S .C. §
203 (definitions).
Agreed Instruction No. 33
Given:
Refused:
Withdrawn:


                           Page 4 8 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 57 of 75




SUBSTANTIVE INSTRUCTION 5. FLSA- DEFINITION -
WORKWEEK


    "Workweek" means a regularly recurring period of

seven days or 168 hours, as designated by the employer.




Source: Faculty of Federal Advocates Ad Hoc Committee
Model Employment Law Jury Instructions·(Sep. 2013)
Authority: 29 C.F.R. § 776.4
Agreed Instruction No. 34
Given:
Refused:
Withdrawn:

                           Page 49 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 58 of 75




SUBSTANTIVE INSTRUCTION 6. FLSA - DEFINITION -
HOURS WORKED

    "Hours worked" means all time spent by an employee

that was primarily for the benefit of the employer or the

employer's business. Such time constitutes hours worked if

the employer knew or should have known that the work

was being performed.




Source: Faculty of Federal Advocates Ad Hoc Committee
Model Employment Law Jury Instructions (Sep. 2013)
Authority: 29 U.S.C. §§ 29 C.F.R. §§ 785.11, 785.17,
785.18, 785.19; Anderson v. Mt. Clemens Pottery Co., 328
U.S. 680, 698, 690-91 (1946); Armour & Co. v. Wantock,
323 U.S. 126, 133 (1944); IBP, Inc. v. Alvarez, 546 U.S. 21,
25 (2005) (citing Anderson and Wantock with approval)
Agreed Instruction No. 35
Given:
Refused:
Withdrawn:

                           Page 50 of 64
       3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 59 of 75




SUBSTANTIVE INSTRUCTION 7. FLSA- DETERMINING
HOURS WORKED


    You must determine the number of hours worked by

the Plaintiff based on all of the evidence. The Plaintiff bears

the burden of proving he performed work for which he was

not properly compensated. However, the Defendant is

legally required to keep accurate records of its employees'

hours worked. If you find that the Defendant failed to

maintain records of the Plaintiff's hours worked or that the

records it kept are inaccurate or inadequate, you must

accept the Plaintiff's estimate of hours worked, unless you

find it to be unreasonable. Damages may be awarded even

though the result is only approximate. The employer

cannot complain that the damages lack the precision that

would have been possible if the employer had kept the

records required by law.




                        Page 51 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 60 of 75




Source: Faculty of Federal Advocates Ad Hoc Committee
Model Employment Law Jury Instructions (Sep. 2013)
Authority: 29 U.S.C. §§ 203, 21 l(c), 254; 29 C.F.R. § 516;
Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687-
88 (1946)
Agreed Instruction No. 36
Given:
Refused:
Withdrawn:




                           Page 52 of 64
       3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 61 of 75




SUBSTANTIVE INSTRUCTION 8. FLSA - "REGULAR
RATE" OF PAY (GENERAL)


    The "regular rate" of pay is the hourly rate actually

paid to the employee for the normal, nonovertime

workweek for which he was employed. The regular rate of

pay is determined by dividing the employee's total

compensation for employment (except statutory exclusions)

in any workweek by the total number of hours actually

worked by him in that workweek for which such

compensation was paid. The regular rate under the Act is a

rate per hour.

    Employees may be compensated on a piece-rate,

salary, commission, or other basis, but in such case the

overtime compensation due to employees must be

computed on the basis of the hourly rate derived therefrom

and, therefore, it is necessary to compute the regular




                         Page 53 of 64
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 62 of 75




hourly rate of such employees during each workweek, with

certain statutory exclusions.

    If the employee is employed solely on a weekly salary

basis, the regular hourly rate of pay, on which time and a

half must be paid, is computed by dividing the salary by

the number of hours which the salary is intended to

compensate. If an employee is hired a salary of $350 and if

it is understood that this salary is compensation for a

regular workweek of 35 hours, the employee's regular rate

of pay is $350 divided by 35 hours, or $10 per hour. When

the employee works overtime the employee is entitled to

receive $10 for each of the first 40 hours and $15 (one and

one-half times $10) for each hour thereafter. If an employee

is hired at a salary of $375 for a 40-hour week the regular

rate is $9.38 an hour. 29 C.F.R. § 778.113(a).




                          Page 54 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 63 of 75



Source: Faculty of Federal Advocates Ad Hoc Committee
Model Employment Law Jury Instructions (Sep. 2013)
Authority: 29 U.S.C. § 207(e); 29 C.F .R. §§ 54 l.602(a),
778.107-778.122, 778.200-778.224; Walling v.
Youngerman-Reynolds Hardwood Corp., 325 U .S. 419, 424
(1945); Chavez v. City of Albuquerque, 630 F.3d 1300 (10th
Cir. 2011). See 29 U.S.C. §207(e); 29 C.F.R. §§ 778.108,
778. 109. See also 29 C.F.R. §§ 778.107-778.122 (principles
for computing overtime based on the regular rate); 29
C.F.R. §§ 778.200-778.224 (statutory exclusions) .
Agreed Instruction No. 37
Given:
Refused:
Withdrawn:

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                           Page 55 of 64
       3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 64 of 75



SUBSTANTIVE INSTRUCTION SA. FLSA - "REGULAR
RATE" OF PAY (GENERAL)


    The "regular rate" of pay is the hourly rate actually

paid to the employee for the normal, nonovertime

workweek for which he was employed. The regular rate of

pay is determined by dividing the employee's total

compensation for employment (except statutory exclusions)

in any workweek by the total number of hours actually

worked by him in that workweek for which such

compensation was paid. The regular rate under the Act is a

rate per hour.

    Employees may be compensated on a piece-rate,

salary, commission, or other basis, but in such case the

overtime compensation due to employees must be

computed on the basis of the hourly rate derived therefrom

and, therefore, it is necessary to compute the regular
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 65 of 75




hourly rate of such employees during each workweek, with

certain statutory exclusions.

    If the employee is employed solely on a weekly salary

basis, the regular hourly rate of pay, on which time and a

half must be paid, is computed by dividing the salary by

the number of hours which the salary is intended to

compensate. If an employee is hired a salary of $350 and if

it is understood that this salary is compensation for a

regular workweek of 35 hours, the employee's regular rate

of pay is $350 divided by 35 hours, or $10 per hour. When

the employee works overtime the employee is entitled to

receive $10 for each of the first 40 hours and $15 (one and

one-half times $10) for each hour thereafter. If an employee

is hired at a salary of $375 for a 40-hour week the regular

rate is $9.38 an hour. 29 C.F.R. § 778. l 13(a).

    "Where an employee's salary covers a period longer

than a workweek, such as a month, it must be reduced to
       3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 66 of 75



its workweek equivalent. A monthly salary is subject to

translation to its equivalent weekly wage by multiplying by

12 (the number of months per year), and dividing by 52

(the number of weeks per year). Once the weekly salary is

arrived at, the regular hourly rate of pay will be calculated

as I instructed you a moment ago. For instance, if an

employee is hired at a salary of $2,700 per month, and if it

is understood that this salary is compensation for a regular

workweek of 72 hours, the employee's regular rate of pay is

$2,700 multiplied by 12 months, divided by 52 weeks,

further divided by 72 hours, or $8.65 per hour. And when

that employee works overtime the employee is entitled to

receive $8.65 for each of the first 40 hours and $12.98 (one

and one-half times $8.65) for each hour thereafter. 29

C.F.R. § 778. 113(b)."
        3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 67 of 75




SUBSTANTIVE INSTRUCTION 9. NO WAIVER OF
RIGHTS (FAIR LABOR STANDARDS ACT)


    The employee's right to be paid minimum or overtime

wages cannot be revoked by his employer or waived by the

employee. For this reason, an employer cannot be excused

from liability for a violation of the FLSA even though some

or all employees may have consented to be paid for less

time than that required by the FLSA. An announcement by

the employer that no overtime work will be permitted, or

that overtime work will not be compensated unless

authorized in advance, will not impair the employee's right

to compensation for work which he is actually suffered or

permitted to perform.




Source: Faculty of Federal Advocates Ad Hoc Committee
Model Employment Law Jury Instructions (Sep. 2013)
Authority: 29 U.S.C. § 216(c); 29 C.F.R. § 778.316;
Barrentine v. Arkansas-Best Freight System, Inc., 450 U.S.


                         Page 56 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 68 of 75




728, 740 (1981); Brooklyn Savings Bank v. O'Niel, 324 U.S.
697, 704-07 (1945); Walton v. United Consumer Club, 786
F.2d 303, 306 (7th Cir. 1986)
Agreed Instruction No. 39
Given:
Refused:
Withdrawn:




                           Page 57 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 69 of 75




SUBSTANTIVE INSTRUCTION 10. WILLFUL VIOLATION
(FAIR LABOR STANDARDS ACT STATUTE OF
LIMITATIONS)


     If you find in favor of the Plaintiff on his minimum

wage or overtime claims, you must determine whether the

Defendants' failure to pay minimum wage and/or overtime

was willful. In order for the Plaintiff to establish that the

Defendants' failure to pay him minimum wage and/ or

overtime pay was willful, he must prove, by a

preponderance of the evidence, that the Defendant knew its

conduct was prohibited by the FLSA or showed reckless

disregard for whether its conduct was prohibited by the

FLSA.

Source: Faculty of Federal Advocates Ad Hoc Committee
Model Employment Law Jury Instructions (Sep. 2013)
Authority: 29 U.S.C. § 255; McLaughlin v . Richland Shoe
Co., 486 U .S. 128, 133 (1988) Agreed Instruction No. 40
Given:
Refused:
Withdrawn:

                           Page 58 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 70 of 75



SUBSTANTIVE INSTRUCTION 11. STATUTE INVOLVED
(SECTION 2 - ILLINOIS WAGE PAYMENT AND
COLLECTION ACT)


    One of the claims in this case is that the defendants

violated the Illinois Wage Payment and Collection Act -

IWPCA for short. That statute at Section 2 says the

following: Payments to separated employees shall be

termed "final compensation" and shall include agreed

wages owed to the employee by the employer pursuant to

an employment contract or agreement between the two

parties. Plaintiff claims he did not receive approximately

$6,500 in held wages from the Defendants and Defendants

deny that any wages were withheld.



Source: 820 ILCS 115/4
Plaintiffs' Proposed IWPCA Instruction 1
Given:
Refused:
Withdrawn:


                           Page 59 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 71 of 75




SUBSTANTIVE INSTRUCTION 12. STATUTE INVOLVED
(SECTION 5 - ILLINOIS WAGE PAYMENT AND
COLLECTION ACT)


    Section 5 of the IWPCA says the fallowing: Every

employer shall pay the final compensation of separated

employees in full, at the time of separation, if possible, but

in no case later than the next regularly scheduled payday

for such employee.




Source: 820 ILCS 115 / 4-5
Plaintiffs' Proposed IWPCA Instruction 2
Given:
Refused:
Withdrawn:

                           Page 60 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 72 of 75



SUBSTANTIVE INSTRUCTION 13. ELEMENTS OF CLAIM
FORIWPCA


    To establish a claim under the IWPCA, the plaintiff

must show that "wages or final compensation" are due to

him under an employment contract or agreement. The

contract or agreement can be in writing or verbal.




Source: 820 ILCS 115/4
Plaintiffs' Proposed IWPCA Instruction 3
Given:
Refused:
Withdrawn:

                           Page 61 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 73 of 75




SUBSTANTIVE INSTRUCTION 14: IWPCA - DEFINITION
- EMPLOYER

    Under the IWPCA, the term "employer" shall include

any individual, partnership, association, corporation,

limited liability company, business trust, employment and

labor placement agencies where wage payments are made

directly or indirectly by the agency or business for work

undertaken by employees under hire to a third party

pursuant to a contract between the business or agency

with the third party, or any person or group of persons

acting directly or indirectly in the interest of an employer in

relation to an employee, for which one or more persons is

gainfully employed.

Source: 820 ILCS 115 / 2
Defendants' Proposed IWPCA Instruction 4
Given:
Refused:
Withdrawn:


                           Page 62 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 74 of 75



SUBSTANTIVE INSTRUCTION 15: IWPCA - DEFINITION
-EMPLOYER


    Under the IWPCA, in addition to an individual who is

deemed to be an employer pursuant to Section 2 of [the

IWPCA] Act, any officers of a corporation or agents of an

employer who knowingly permit such employer to violate

the provisions of this Act shall be deemed to be the

employers of the employees of the corporation.




Source: 820 ILCS 115 / 13
Defendants' Proposed IWPCA Instruction 5
Given:
Refused:
Withdrawn:


                           Page 63 of 64
         3:20-cv-03186-SEM-KLM # 90   Filed: 05/23/23   Page 75 of 75




SUBSTANTIVE INSTRUCTION 16: IWPCA- KNOWINGLY
PERMIT

    Under the IWPCA, if an individual does not oversee the

day-to-day operations of the employee's work, or set his

work schedule or payment arrangement, then that

individual does not knowingly permit violations of the

IWPCA.




Source(s): 820 ILCS 115/13; Cardenasv. Grozdic, 67 F.
Supp. 3d 917, 924 (N.D. Ill. 2014); 24 Wage & Hour Cas.2d
(BNA) 657
Defendants' Proposed IWPCA Instruction 6
Given:
Refused:
Withdrawn:

                           Page 64 of 64
